Case 19-10888-KHK          Doc 13 Filed 04/05/19 Entered 04/06/19 00:22:59                           Desc Imaged
                                Certificate of Notice Page 1 of 2


                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA

                                              Alexandria
                                          __________________ Division

    In re Mark Anthony Anderson
                                                                         Case No. 19-10888-KHK


                             Debtor(s)                                   Chapter 13


       ORDER EXTENDING TIME TO FILE CHAPTER 13 PLAN, LISTS, SCHEDULES
           AND STATEMENTS AND REQUIRING DEBTOR TO GIVE NOTICE


           The debtor(s) have filed a motion to extend the time for filing their Chapter 13 plan, lists,
    schedules and statements. Accordingly it is ORDERED that

            1. the debtor’s motion to extend the time to file a plan is granted.

                                                                                 April 9, 2019
            2. the deadline for filing a Chapter 13 plan is extended to _______________________________.

             3. the debtor(s) shall forthwith notify the trustee and all creditors of the respective deadline
    set for the filing of the plan.

           4. under authority of Local Bankruptcy Rule 1007-1, the time is extended to
            April 9, 2019
    ___________________________     , for filing all lists, schedules and statements.

            5. failure of the debtor(s) to file the plan, lists, schedules and statements on or before the
    deadlines set forth in paragraphs 2 and 4 above will result in the case being dismissed.

                                                                WILLIAM C. REDDEN
                                                                Clerk of Court

          April 3, 2019
    Date: ________________________                                 /s/ Elizabeth W. Douglass
                                                                By ___________________________________
                                                                               Deputy Clerk

                                                                NOTICE OF JUDGMENT OR ORDER
                                                                ENTERED ON DOCKET

                                                                April 3, 2019
                                                                _______________________________
                                      .




    [oex13ps ver. 01/10]
        Case 19-10888-KHK              Doc 13 Filed 04/05/19 Entered 04/06/19 00:22:59                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 19-10888-KHK
Mark Anthony Anderson                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Apr 03, 2019
                                      Form ID: pdford6                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 05, 2019.
db             +Mark Anthony Anderson,   1411 Admiral Drive,   Woodbridge, VA 22192-2602

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 05, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 3, 2019 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Karl A. Moses, Jr.   on behalf of Creditor   DITECH FINANCIAL LLC bkvaecfupdates@bww-law.com,
               karl.moses@bww-law.com
              Nathan A. Fisher   on behalf of Debtor Mark Anthony Anderson Fbarsad@cs.com, barsad@aol.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                            TOTAL: 4
